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                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

 In re:                                          )      Chapter 11
                                                 )
          BCause Mining LLC, et al.              )      Case No. 19-10562
                                                 )
                         Debtors.                )      Honorable Janet S. Baer
                                                 )
                                                 )      Hearing Date: May 22, 2019
                                                 )      Hearing Time: 9:30 a.m.

                                       NOTICE OF MOTION
 TO:       See Attached Service List

        PLEASE TAKE NOTICE that on May 22, 2019 at 9:30 a.m. or as soon thereafter as
counsel may be heard, I shall appear before the Honorable Janet S. Baer of the United States
Bankruptcy Court for the Northern District of Illinois, or any other judge sitting in her place and
stead, in Courtroom 615, Everett McKinley Dirksen, 219 South Dearborn Street, Chicago, Illinois,
and shall then and there present the Motion Of BMG Operations. Ltd. To Authorize
Examination Of WESCO Distribution, Inc. Pursuant To Fed. R. Bankr. P. 2004 And Local
Rule 9013-9(B)(5), a copy of which is attached and herewith served upon you, and shall pray for
the entry of an order in conformity with the prayer of said pleading.

      AT WHICH TIME AND PLACE you may appear if you so see fit. Pursuant to Local
Rule 9013-9, the Motion may be granted without a hearing in the absence of objection.

 Dated: May 16, 2019                            Respectfully submitted,


                                                /s/ Christina M. Sanfelippo
                                                Christina M. Sanfelippo
                                                Brian L. Shaw
                                                FOX ROTHSCHILD LLP
                                                321 North Clark Street, Suite 1600
                                                Chicago, Illinois 60654
                                                (312) 517-9200

                                                Counsel to BMG Operations, Ltd.




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                                  CERTIFICATE OF SERVICE

        Christina M. Sanfelippo, an attorney, certifies that she caused to be served a true copy of
 the above and foregoing notice and attached pleading upon the Electronic Mail Notice List through
 the ECF System which sent notification of such filing via electronic means or First Class U.S.
 Mail, as indicated, on May 16, 2019.

                                                          /s/ Christina M. Sanfelippo
Mailing Information for Case 19-10562
Electronic Mail Notice List

The following is the list of parties who are currently on the list to receive email notice/service
for this case.

    •   David A Agay dagay@mcdonaldhopkins.com,
        mbrady@mcdonaldhopkins.com;bkfilings@mcdonaldhopkins.com
    •   Sarah K Angelino sangelino@schiffhardin.com, edocket@schiffhardin.com
    •   Jamie L Burns jburns@lplegal.com,
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    •   Brian L Shaw bshaw@foxrothschild.com, cknez@foxrothschild.com
    •   Jason M Torf jason.torf@icemiller.com

Parties Served Via United States First Class Mail

WESCO Distributions, Inc.
c/o David A. Agay and Shara Cornell
McDonald Hopkins LLC
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Chicago, IL 60654
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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

 In re:                                            )      Chapter 11
                                                   )
           BCause Mining LLC, et al.,              )      Case No. 19-10562
                                                   )
                           Debtors.                )      Honorable Janet S. Baer
                                                   )
                                                   )      Hearing Date: May 22, 2019
                                                   )      Hearing Time: 9:30 a.m.

                  MOTION OF BMG OPERATIONS. LTD. TO AUTHORIZE
               EXAMINATION OF WESCO DISTRIBUTION, INC. PURSUANT TO
                  FED. R. BANKR. P. 2004 AND LOCAL RULE 9013-9(B)(5)

          BMG Operations, Ltd. (“BMG”) hereby moves the Court (the “Motion”) for entry of an

order, pursuant to Fed. R. Bankr. P. 2004 and Local Rules 2004-1 and 9013-9, authorizing it to

issue and serve a subpoena on WESCO Distribution, Inc. (“WESCO”) in order to compel it to

produce documents referring or relating to the documents and topics described herein (the

“Motion”) and on the proposed subpoena, attached hereto as Exhibit A (“Subpoena”). In support

of the Motion, BMG respectfully states:

                                          BACKGROUND

          1.      On April 11, 2019 (“BCause Mining Petition Date”), the Debtor BCause Mining,

LLC (“BCause Mining”) filed a voluntary petition for relief pursuant to chapter 11 of the

Bankruptcy Code.

          2.      On April 12, 2019 (“BCause Petition Date” and together with BCause Mining

Petition Date, the “Petition Dates”), the Debtor BCause LLC filed a voluntary petition for relief

pursuant to chapter 11 of the Bankruptcy Code.

          3.      This Court has jurisdiction over this Motion under 28 U.S.C. §§ 157 and 1334. This

matter is a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(A) and (O).



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        4.       WESCO purports to have a security interest in all assets of BCause Mining. The

bases for its alleged security interest appears to be an Application for Business Credit, a UCC

financing statement filed within a year prior to the Petition Dates, and a Virginia Promissory and

Confessed Judgment Note, dated December 5, 2018, in the original principal amount of

$1,358,610.51, which amount inexplicably grew to $1,896,349.34 within three months.

        5.       Approximately two weeks after the Petition Dates, on April 26, 2019, WESCO filed

WESCO Distribution’s Motion (I) to Dismiss the Debtors’ Bankruptcy Cases, or, in the

Alternative, (II) for Relief from the Automatic Stay [Dkt. No. 35] (the “Stay Relief Motion”),

wherein WESCO seeks (i) to dismiss the Debtors’ chapter 11 cases for cause pursuant to section

1112(b) of the Bankruptcy Code, or, in the alternative, (ii) relief from the automatic stay pursuant

to section 362 to proceed against the Wesco’s purported collateral. See Stay Relief Motion, 6-7.

        6.       At the hearing on May 8, 2019, counsel for BMG and counsel for the Official

Committee of Unsecured Creditors (the “Committee”) expressed concern over the validity of

WESCO’s security interest. In response, counsel for WESCO argued that no party had formally

challenged its security interest or even requested information relating to the same. Counsel for

WESCO essentially invited parties to request information from WESCO and indicated that it

would cooperate with such requests. The Court urged parties in interest to move quickly to

investigate their concerns over WESCO’s security interest.

        7.       The next day, counsel for BMG submitted a comprehensive set of information

requests to counsel for WESCO. See Exhibit B. In response, counsel for WESCO stated that

BMG’s information requests were unreasonable and indicated that it would instead focus on

responding to requests submitted by counsel for the Committee. Id. When asked when WESCO

intended to provide information to the Committee, a question that is particularly relevant in light



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of the impending deadline to respond to the Stay Relief Motion, counsel for WESCO did not

respond. Id.

        8.       Counsel for BMG later learned that the Committee expected to receive some

limited information from WESCO on or around May 20, 2019—two days before the current

objection deadline to the Stay Relief Motion.

                                      RELIEF REQUESTED

        9.       Pursuant to Fed. R. Bankr. P. 2004(a), on motion of a party in interest, the Court

may order the examination of any entity. The examination may relate to the acts, conduct, or

property or to the liabilities and financial condition of the debtor, or to any matter which may affect

the administration of a debtor’s estate. Fed. R. Bankr. P. 2004(b). The attendance of an entity for

examination and for the production of documents may be compelled by the Court. Fed. R. Bankr.

P. 2004(c).

        10.      Pursuant to Rule 2004, BMG seeks authority to issue a subpoena to WESCO to

obtain documents referring or relating to WESCO’s alleged security interest, including, but not

limited to:

              a. All invoices, work orders, change orders, lien waivers and other document
                 evidencing equipment sold and services provided by Wesco to BCause Mining
                 LLC.

              b. All invoices, work orders, change orders, lien waivers and other document
                 evidencing equipment sold and services provided by Wesco to BCause LLC.

              c. All invoices, work orders, change orders, lien waivers and other document
                 evidencing equipment sold and services provided by parties other than Wesco that
                 now are included in the amounts claimed to be owed Wesco by the Debtors.

              d. All documents pertaining to the Application for Business Credit submitted to
                 Wesco by BCause Mining LLC, as well as Wesco’s subsequent communication(s)
                 to the debtor that its application was accepted.




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              e. All loan and security documents not already attached to the stay motion and/or
                 proof of claim filed by WESCO that reflect or relate to WESCO’s alleged lien on
                 the debtors’ property.

              f. A breakdown of the components of WESCO’s claim reflecting, among other things,
                 which portion of WESCO’s claim, if any, is related to a liability that was at any
                 time owed to CSC.

              g. All documents evidencing a claim by CSC against the Debtors.

              h. All proof of service documents related to the confession of judgment.

              i. All documents evidencing the domestication of the confession of judgment, any
                 citations issued in Illinois, and any other supplementary proceedings initiated in
                 Illinois.

        11.      The filing of this Motion was necessitated by WESCO’s refusal to respond to

BMG’s information requests. BMG is the largest creditor of BCause Mining. After reviewing

WESCO’s Stay Relief Motion and the supporting documentation attached thereto, BMG has

serious concerns regarding the extent and validity of WESCO’s purported security interest and the

aggressive approach WESCO has taken in these cases. There are obvious holes in the

documentation that WESCO has submitted to the Court and neither BMG nor any other party in

interest should be compelled to accept Wesco’s assertion of a security interest and the validity of

the document at their word alone.

                                              NOTICE

        12.      Pursuant to Local Rule 2004-1, notice of this Motion has been given to (a) the

Office of the United States Trustee, (b) counsel to the Debtor; (c) counsel to WESCO, and (d) all

parties that have requested notice in this case. In light of the nature of the relief requested, BMG

requests that this Court find the notice provided for herein sufficient under the circumstances and

waive and dispense with any further notice requirements.




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        WHEREFORE, BMG Operations, Ltd. requests that this Court enter the attached proposed

order allowing this Motion and granting such other and further relief as may be appropriate.

 Dated: May 16, 2019                          Respectfully submitted,

                                              BMG OPERATIONS, LTD.

                                              By:     /s/ Christina M. Sanfelippo
                                                      One of its attorneys

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                                              -and-

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